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                                              Trial
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                                                      June 16, 2023

        VIA ECF
        Catherine O' Hagan Wolfe
        Clerk of Court
        United States Court of Appeals for the Second Circuit
        Thurgood Marshall U.S. Courthouse
        40 Fo ley Square
        New York, NY 10007

                Re:     Carroll v. Trump, Court of Appeals Docket #: 23-793

        Dear Ms. O ' Hagan Wolfe:

                l am counsel for Appellant Donald J. Trump in the above-referenced appeal. I write to
        respectfully inform the Court that Appellant, on June 8, 2023 , filed a new trial motion in this case
        pursuant to Fed. R. Civ. P. 59 in the United States District Court for the Southern District of New
        York. See Carroll v. Trump , No. 1:22-cv-1 00 16-LAK (S.D.N. Y.) at ECF Nos. 183-184.



                                                      R7 Rfully yours,



                                                      Matthew G. DeOreo

        cc:     All counsel by ECF
